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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE


    In re
                                                        Chapter 11

    Lordstown Motors Corp., et al.,1                    Case No. 23-10831 (MFW)


                                        Debtors.        (Jointly Administered)

                                                        Objection Deadline: February 12, 2024, at 4:00 p.m. (ET)



     NOTICE OF SIXTH MONTHLY APPLICATION OF SILVERMAN CONSULTING
         FOR ALLOWANCE OF COMPENSATION AND REIMBURSEMENT
                    OF EXPENSES FOR THE PERIOD FROM
           DECEMBER 1, 2023 TO AND INCLUDING DECEMBER 31, 2023

            PLEASE TAKE NOTICE that Silverman Consulting (the “Applicant”) has today filed

the attached Sixth Monthly Application of Silverman Consulting for Allowance of Compensation

and Reimbursement of Expenses for the Period from December 1, 2023 to and Including December

31, 2023 (the “Application”) with the United States Bankruptcy Court for the District of Delaware

(the “Bankruptcy Court”).

            PLEASE TAKE FURTHER NOTICE that objections, if any, to the Application must be

made in accordance with the Order Establishing Procedures For Interim Compensation And

Reimbursement of Expenses For Chapter 11 Professionals and Committee Members, entered July

25, 2023 [D.I. 181] (the “Interim Compensation Order”) and must be filed with the Clerk of the

Bankruptcy Court, 824 North Market Street, 3rd Floor, Wilmington, DE 19801, and be served

upon and received by (a) counsel to the debtors and debtors in possession in the above-captioned



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         The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown
Motors Corp. (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service
address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.
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cases (collectively, the “Debtors”), (i) White & Case LLP, 200 South Biscayne Boulevard, Suite

4900, Miami, FL 33131 (Attn: Thomas E Lauria (tlauria@whitecase.com), Matthew C. Brown

(mbrown@whitecase.com), and Fan B. He (fhe@whitecase.com)); (ii) White & Case LLP, 1221

Avenue    of   the   Americas   New     York,       NY     10020   (Attn:    David        M.    Turetsky

(david.turetsky@whitecase.com)); (iii) White & Case LLP, 111 South Wacker Drive, Suite 5100,

Chicago, IL 60606 (Attn: Jason N. Zakia (jzakia@whitecase.com)); and (iv) White & Case LLP,

555 South Flower Street, Suite 2700, Los Angeles, CA 90071 (Attn: Roberto Kampfner

(rkampfner@whitecase.com),      Doah    Kim     (doah.kim@whitecase.com),          and         RJ   Szuba

(rj.szuba@whitecase.com)); (b) counsel to the Debtors, Womble Bond Dickinson (US) LLP, 1313

North Market Street, Suite 1200 Wilmington, DE 19801 (Attn: Donald J. Detweiler

(don.detweiler@wbd-us.com), and Morgan L. Patterson (morgan.patterson@wbd-us.com));

(c) counsel to the Official Committee of Unsecured Creditors, (i) Troutman Pepper Hamilton

Sanders LLP, Hercules Plaza, Suite 5100, 1313 N. Market Street, Wilmington, DE 19801 (Attn:

David    M.    Fournier    (david.fournier@troutman.com),          and      Tori     L.        Remington

(tori.remington@troutman.com)); (ii) Troutman Pepper Hamilton Sanders LLP, 3000 Two Logan

Square, 18th & Arch Streets, Philadelphia, PA 19103-2799 (Attn: Francis J. Lawall

(francis.lawall@troutman.com)); (iii) Troutman Pepper Hamilton Sanders LLP, 875 Third

Avenue, New York, NY 10022 (Attn: Deborah Kovsky-Apap (deborah.kovsky@troutman.com));

and (iv) Troutman Pepper Hamilton Sanders LLP, 4000 Town Center, Suite 1800, Southfield, MI

48075 (Attn: Sean P. McNally (sean.mcnally@troutman.com)); (d) the Office of The United States

Trustee for the District of Delaware, 844 King Street, Suite 2207, Wilmington, DE 19801 (Attn:

Benjamin A. Hackman (Benjamin.A.Hackman@usdoj.gov)); and (e) counsel to the Official

Committee of Equity Security Holders, (i) Brown Rudnick LLP, 7 Times Square, New York, NY



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10036 (Attn: Robert J. Stark (rstark@brownrudnick.com) and Bennett S. Silverberg

(bsilverberg@brownrudnick.com)); (ii) Brown Rudnick LLP, One Financial Center, Boston, MA

02111 (Attn: Matthew A. Sawyer (msawyer@brownrudnick.com)); and (iii) Morris James LLP,

500 Delaware Avenue, Suite 1500, Wilmington, DE 19801 (Attn: Eric J. Monzo

(emonzo@morrisjames.com) and Brya M. Keilson (bkeilson@morrisjames.com)) by no later than

4:00 p.m. (Eastern Time) on February 12, 2024 (the “Objection Deadline”).

       PLEASE TAKE FURTHER NOTICE that if any responses or objections to the

Application are timely filed, served and received in accordance with this notice, a hearing on the

Application will be held at the convenience of the Bankruptcy Court. Only those objections made

in writing and timely filed and received in accordance with the Administrative Order and the

procedures described herein will be considered by the Bankruptcy Court at such hearing.

       PLEASE TAKE FURTHER NOTICE that, pursuant to the Administrative Order, if no

objection to the Application is timely filed, served and received by the Objection Deadline, the

Applicant may be paid an amount equal to the lesser of (i) 80 percent of the fees and 100 percent

of expenses requested in the Application or (ii) 80 percent of the fees and 100 percent of the

expenses not subject to an objection without the need for further order of the Bankruptcy Court.


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Dated: January 22, 2024
Wilmington, Delaware

/s/ Donald J. Detweiler
WOMBLE BOND DICKINSON (US) LLP                    WHITE & CASE LLP
Donald J. Detweiler (DE Bar No. 3087)             Thomas E Lauria (admitted pro hac vice)
Morgan L. Patterson (DE Bar No. 5388)             Matthew C. Brown (admitted pro hac vice)
1313 North Market Street, Suite 1200              Fan B. He (admitted pro hac vice)
Wilmington, Delaware 19801                        200 South Biscayne Boulevard, Suite 4900
Telephone: (302) 252-4320                         Miami, FL 33131
Facsimile: (302) 252-4330                         Telephone: (305) 371-2700
don.detweiler@wbd-us.com                          tlauria@whitecase.com
morgan.patterson@wbd-us.com                       mbrown@whitecase.com
                                                  fhe@whitecase.com
Counsel to the Debtors and Debtors in
Possession                                        David M. Turetsky (admitted pro hac vice)
                                                  1221 Avenue of the Americas
                                                  New York, NY 10020
                                                  Telephone: (212) 819-8200
                                                  david.turetsky@whitecase.com

                                                  Jason N. Zakia (admitted pro hac vice)
                                                  111 South Wacker Drive, Suite 5100
                                                  Chicago, IL 60606
                                                  Telephone: (312) 881-5400
                                                  jzakia@whitecase.com

                                                  Roberto Kampfner (admitted pro hac vice)
                                                  Doah Kim (admitted pro hac vice)
                                                  RJ Szuba (admitted pro hac vice)
                                                  555 South Flower Street, Suite 2700
                                                  Los Angeles, CA 90071
                                                  Telephone: (213) 620-7700
                                                  rkampfner@whitecase.com
                                                  doah.kim@whitecase.com
                                                  rj.szuba@whitecase.com

                                                  Counsel to Debtors and
                                                  Debtors in Possession




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WBD (US) 4868-9739-0239v1
